Case 2:05-CV-02379-BBD-STA Document 5 Filed 08/31/05- Page 1 of 2 Page|D 1

UNITED STATES DISTRICT COURT FlLED BY & n'c'

wEsTERN DISTRICT oF TENNESSEE
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UNITED sTATES oF AMERICA, m ll GOU_D
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DEPARTMENT OF LABOR, TO THE
USE OF THE WESTPORT GROUP,
INC.

/l") l.f;" i-T?r:ilPH:’S

Plaintiffs,
Civil Action No. 05-2379
vs.

WASHINGTON INTERNATIONAL
INSURANCE CO.

W'bmw'b€m@@€m@@m¢m@m

Defendant.

ORDER GRANTING STEPI-IEN M. HINES’
MOTION TO APPEAR PRO HAC WCE

Upon consideration of STEPHEN M. HINES’ MOTION TO APPEAR PRO HAC VICE,
the Court finds the same is well-taken and should be granted It is therefore
ORDERED that STEPHEN M. HINES be admitted pro hac vice for the limited purpose

of this lawsuit

Dated:§;;¢ 354£3{ B§, jj

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ORDER CRAN'I`[NG STEPHEN M. HINES’ MOTION

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This notice confirms a copy of the document docketed as number 5 in
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J ames E. Conley

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Honorable Bernice Donald
US DISTRICT COURT

